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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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                                                              :
 ABBOTT LABORATORIES,                                         :
                                              Plaintiff,      :
                                                              :   18 Civ. 8468 (LGS)
                            -against-                         :    19 Civ. 600 (LGS)
                                                              :
 NANCY FEINBERG et al.,                                       :        ORDER
                                                              :
                                              Defendants. :
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LORNA G. SCHOFIELD, District Judge:

         WHEREAS the final pre-trial conference in this case was held on October 14, 2020. It is

hereby

         ORDERED that because of a scheduling conflict with an earlier jury trial, the bench trial

scheduled to begin on October 26, 2020, is adjourned sine die. An order setting a new trial date

will issue separately. It is further

         ORDERED that the parties are allotted 3 hours per side for the questioning of live

witnesses, 20 minutes per side for opening statements, and the time for summations will be

determined later. The Court will not accept post-trial submissions.

         ORDERED that no later than seven days prior to trial, the parties shall jointly submit

deposition designations for each witness in a single continuous transcript, with the testimony

offered by Plaintiff highlighted in one color, and the testimony relied on by Defendants

highlighted in a contrasting color. Any objections to designated testimony shall be indicated in

the margin with a reference to the applicable Federal Rule of Evidence. It is further

         ORDERED that the parties shall create demonstrative aids for the items they intend to

offer as admissions as identified in the Joint Final Pre-Trial Order. It is further
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          ORDERED that the parties shall meet and confer to (1) reduce the number of trial

exhibits and (2) resolve objections to such exhibits. No later than seven days prior to trial, the

parties shall submit revised exhibit lists and a joint letter setting forth the exhibits for which the

parties dispute admissibility, grouped by category with brief explanations of the parties’

objections. The revised exhibit lists shall indicate which exhibits are demonstrative aids. It is

further

          ORDERED that by October 16, 2020, Plaintiff shall file a letter per Individual Rule

III.A.1 setting forth its proposed rationale and measures to maintain the confidentiality during

trial of the name of the artist and artwork at issue. By October 20, 2020, Defendants shall file a

responsive letter per Individual Rule III.A.1.



Dated: October 14, 2020
       New York, New York




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